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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                        Case No. 14-cv-03264-JD
                                        IN RE CAPACITORS ANTITRUST
                                        LITIGATION.
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                                                                                            ORDER RE QUESTIONS FOR 1/13/16
                                   9                                                        HEARING ON FTAIA ISSUES

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                                  12          For the January 13, 2016 hearing on defendants’ summary judgment motions under the
Northern District of California
 United States District Court




                                  13   FTAIA (Dkt. Nos. 911, 915), the Court directs the parties to be prepared to address these

                                  14   questions:

                                  15          1. Which defendants import capacitors into the United States?

                                  16                   a. Which defendants invoice customers located in the U.S.?

                                  17                   b. Which defendants directly ship capacitors into the U.S. (regardless of the

                                  18                       location of the customer who was invoiced for them)?

                                  19                   c. What percentage of capacitors were bought by and delivered to a plaintiff in the

                                  20                       U.S.?

                                  21                   d. Did the defendants engage in import commerce because the conspiracy’s intent

                                  22                       was to fix prices for U.S. customers and actions in furtherance of that intent

                                  23                       were taken by defendants’ employees located within the U.S.?

                                  24          2. Which defendants sell exclusively outside the U.S.? Does any defendant contend it

                                  25                never invoiced or shipped capacitors to any customer in the U.S.?

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                                   1          3. Which defendants sold outside of the U.S. but expected or targeted final delivery of

                                   2              finished goods to the U.S.?

                                   3                   a. Was it understood that substantial numbers of finished products (incorporating

                                   4                       capacitors) were destined for the United States and that “the practical upshot of

                                   5                       the conspiracy would be and was increased prices to customers in the United

                                   6                       States,” U.S. v. Hsiung, 778 F.3d 738, 759 (9th Cir. 2014)?

                                   7          4. For plaintiffs’ foreign purchase of capacitors that remained capacitors:

                                   8                   a. Which plaintiffs bought capacitors abroad through a foreign related company

                                   9                       who then shipped the capacitors to the U.S. company for resale in the U.S.?

                                  10                   b. Which plaintiffs bought capacitors abroad through a foreign related company

                                  11                       who then resold those capacitors abroad?

                                  12          5. For plaintiffs’ foreign purchase of capacitors that were incorporated into finished
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                                  13              goods:

                                  14                   a. Which plaintiffs bought capacitors abroad through a foreign related company

                                  15                       who then shipped finished goods (incorporating those capacitors) to the U.S.

                                  16                       company for resale in the U.S.?

                                  17                   b. Which plaintiffs bought capacitors abroad through a foreign related company

                                  18                       who then sold finished goods (incorporating those capacitors) abroad?

                                  19          6. Which plaintiffs purchased capacitors through foreign divisions rather than

                                  20              subsidiaries?

                                  21          7. Which defendants sold capacitors or finished goods from the U.S. to foreign

                                  22              customers?

                                  23          The Court’s intent is that the parties will clarify the mass of facts proffered in the

                                  24   declarations by sorting them into clear “buckets” that address the FTAIA issues. The parties are

                                  25   referred to Motorola Mobility LLC v. AU Optronics Corp., 775 F.3d 816 (7th Cir. 2014), and In re

                                  26   Vitamin C Antitrust Litigation, 904 F. Supp. 2d 310 (E.D.N.Y. 2012), for examples of helpful data

                                  27   presentation.

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                                   1           Ideally, plaintiffs and defendants will be prepared to take a stand on the answers on a joint

                                   2   basis. If the answers cannot be joint, each defendant must be prepared to answer these questions

                                   3   with specific citations to declarations. It is likely the Court will call for additional written

                                   4   submissions on these targeted questions.

                                   5           IT IS SO ORDERED.

                                   6   Dated: January 12, 2016

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                                                                                                       JAMES DONATO
                                   9                                                                   United States District Judge
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Northern District of California
 United States District Court




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